  8:07-cr-00325-JFB-TDT         Doc # 16   Filed: 10/16/07   Page 1 of 1 - Page ID # 22




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )              8:07CR325
                       Plaintiff,                )
                                                 )
       vs.                                       )              ORDER
                                                 )
ROLANDO HERNANDEZ,                               )
                                                 )
                       Defendant.                )


       This matter is before the court on the motion for an extension of time by defendant
Rolando Hernandez (Hernandez) (Filing No. 15). Hernandez seeks until November 14,
2007, in which to file pretrial motions in accordance with the progression order (Filing No.
5). Hernandez's counsel represents that Hernandez will file an affidavit wherein he
consents to the motion and acknowledges he understands the additional time may be
excludable time for the purposes of the Speedy Trial Act . Upon consideration, the motion
will be granted.


       IT IS ORDERED:
       Defendant Hernandez' s motion for an extension of time (Filing No. 15) is granted.
Hernandez is given until on or before November 14, 2007, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
October 16, 2007 and November 14, 2007, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 16th day of October, 2007.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
